  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 1 of 30 PageID #:933
                                                                            EXHIBIT                       1
                                                                         Deposition Exhibit 94(2/19/21)



                           CRITERIA FOR TENURE AND PROMOTION

                         COLLEGE OF COMMUNICATION (June 5, 2017)

The College of Communication espouses standards of evaluation that address the breadth and

diversity of tenure line faculty membership within the college, providing guidelines for

determining the quality of a candidate’s teaching, research, and service. We systematically

gather and evaluate evidence relating to faculty performance in the areas of teaching, research,

and service through the College of Communication personnel committee and then through a

meeting among tenured faculty. The standards set forth are consistent with the current

University Faculty Handbook in making tenure and promotion recommendations. (Any portion

taken from the current Faculty Handbook is italicized.) This document provides an exposition of

the review process in the College of Communication and clarifies the application of some

processes discussed in the Faculty Handbook. All faculty members should consult the Faculty

Handbook for further information about promotion and tenure processes.

                                      Criteria for Teaching

The college recognizes that effective teaching is both an expectation and a requirement at

DePaul. Teaching effectiveness is defined as: command of materials, effective communication

of subject matter, appropriateness and thoroughness in the creation and execution of course

objectives, analysis of course content, course organization, course presentation, methods of

evaluating student performance, commitment to challenging students to grow intellectually,

and working to foster a classroom that reinforces values inherent in the University mission.

Additionally, teaching is assessed by considering the range of courses taught by the faculty

member; creation of new courses; the faculty member’s flexibility in meeting the various

teaching needs of the college, the liberal studies program, and the university; supervision of




CONFIDENTIAL                                                     Calvente-DePaul 000798
  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 2 of 30 PageID #:934
                                                                                                  2


graduate theses, projects, and graduate student teaching; design and/or grading of

comprehensive examination questions; innovative pedagogy (including, but not limited to): (1)

Incorporation of technology in the classroom, (2) Course design connecting students with

community service, and (3) Course design connecting students to professional work; (4) course

designs contributing to the internationalization of curriculum; (5) Awards and nominations for

teaching excellence; (6) advising and professional development; and (7)class size.

In the evaluation of teaching effectiveness, consideration is granted to the following six primary

sources of data.

   1. Personnel Committee Reports are considered in the evaluation of teaching
      effectiveness specific to a particular area of the discipline, a pattern of continued
      improvement in pedagogy, and the ability to incorporate constructive criticism in
      teaching practices. The personnel committee generates these reports as part of the
      formal review process, and these reports are based upon careful review of an
      instructor’s teaching materials, teaching statement, course evaluations, and peer
      classroom evaluation reports.


   2. Peer classroom evaluation reports will be considered in the evaluations of teaching
      effectiveness specific to a particular area of the discipline, a pattern of continued
       improvement in pedagogy, and the ability to incorporate constructive criticism in
       teaching practices. Peer evaluations are primarily designed to promote instructional
       excellence, development, and peer mentorship, yet provide additional data for
       evaluating an instructor’s organization, presentation skills, pedagogical style, overall
       classroom climate, classroom management, effective use of class time, command of
       subject matter, and effective use of constructive peer criticism to continue the process
       of growing, improving, and developing as a teacher/learner. See Appendix A for peer
       observations.


   3. Contextual factors specific to each course are considered pertinent in the assessment
      of teaching effectiveness and are vital to the interpretation of student evaluation data.
      Such factors include the class size, the number of students who complete the evaluation
      form, class meeting times, the number of times the instructor has taught the class, the




CONFIDENTIAL                                                     Calvente-DePaul 000799
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 3 of 30 PageID #:935
                                                                                                 3


     number of new course preparations, contact hours inside and outside the classroom,
     the quality of the syllabus and instructional materials, faculty members’ statements
     regarding teaching, innovative pedagogy, course complexity balanced by content
     appropriate to the developmental level of the students and the course level (freshman,
     sophomore, etc.), curricular development, correlation of teaching goals with
     assessments, whether the class is required or elected by the student, and whether the
     instructor is teaching an undergraduate or graduate level course.


  4. Quantitative feedback on student evaluations indicates larger patterns of teaching
     effectiveness. In representing quantitative student feedback, graphic representations of
     means provide one form of reporting evaluation data and demonstrating teaching
     effectiveness. Through online teaching evaluations, data are available in the form of
     percentages, offering greater information regarding distribution of responses across the
     spectrum of possible answers. Percentages also assist in locating additional trends,
     patterns, and distributions that are not visible in the calculation of means. In
     interpreting these evaluations, the college is most interested in the patterns over time.
     A positive evaluation of these quantitative student reports shall require a
     demonstration of continued improvement in teaching or, where prior assessments were
     sufficiently strong, a positive evaluation will indicate the maintenance of upholding past
     quality.


  5. Qualitative feedback on student evaluations is considered in evaluating patterns of
     teaching effectiveness, allowing a space for students to communicate about instructor
     performance. Specifically considering recurrent trends, as opposed to individual
     comments, the qualitative evaluation component of student evaluations provides rich
     and diverse feedback, allowing students to narrate, in their own words, their
     experiences in the classroom, within the course, and in relation to the instructor. These
     accounts both contextualize quantitative data and provide additional data for
     interpreting and understanding student teaching evaluations.


  6. Student reports offer an additional opportunity for evaluating teaching effectiveness. A
     student representative is charged with surveying a random sample of students who
     have taken a course from the candidate. The college bears responsibility for data
     collection. A student review committee then analyzes data collected via this process for
     each promotion and tenure candidate, as well as aggregate information on course
     evaluations provided by the unit. The student review committee consists of up to three



CONFIDENTIAL                                                  Calvente-DePaul 000800
  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 4 of 30 PageID #:936
                                                                                                   4


        students, none of whom is currently enrolled in a class with the candidate under review.
        After analyzing the collected data, the review committee provides a written report,
        along with all the raw data, to the personnel committee of the local academic unit and
        to the candidate. The student input data becomes part of the candidate’s dossier. The
        personnel committee may request a meeting with a representative from the student
        review committee, if the committee deems it necessary. Once student representatives
        furnish their report to the local academic unit, they do not appear before subsequent
        evaluative bodies. The student report will be forwarded with other promotion and tenure
        materials to each review level (Faculty Handbook, 3.6.3.2). See Appendix B for student
        reports.


        Student reports will not be used during the first formal review. All subsequent formal
        reviews will include a student report, including applications for promotion and/or
        tenure. The lead writer for each specific case will not have been a past enrollee in the
        faculty member’s course(s). The reviewed faculty member can request that a specific
        student representative be removed from the review committee.




                  Criteria for Scholarship, Research and/or Creative Activities


Scholarship, research and/or creative activities are expected of each faculty member within the

College of Communication. Faculty members should be able to demonstrate success at

completing projects and disseminating the results of these projects in academic and artistic

arenas beyond DePaul. The College of Communication’s guideline on scholarship, research, and

creative activities is consistent with the current university Faculty Handbook. In addition, the

guideline also includes criteria that are applicable to the various disciplines within

Communication.


Definition: Scholarship, Research and/or Creative Activities encompass (Faculty Handbook

3.4.2.2):




CONFIDENTIAL                                                       Calvente-DePaul 000801
  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 5 of 30 PageID #:937
                                                                                                    5


   x   Original discovery advances knowledge within the context of a disciplinary or
       multidisciplinary field and practice, contributing significantly to knowledge and the
       intellectual life of the university. Research falls into the category of discovery.
   x   Integration develops knowledge through cross and multidisciplinary investigations,
       allowing new fields of inquiry to develop.
   x   The application of knowledge uses research findings in responsible ways to address
       contemporary societal problems through interaction with the larger community.
   x   The study of teaching experiences leads to the development of better pedagogical
       methods and tools.
Guidelines and Criteria: Scholarship, Research and/or Creative Activities will be evaluated in

the light of their (Faculty Handbook 3.4.2.2):


   a. Originality;

   b. Contribution to knowledge;

   c. Conceptual or artistic sophistication;

   d. Intellectual rigor and artistic skill;

   e. Effective application of knowledge to address human problems or need;

   f. Effective communication of knowledge to audiences beyond the classroom;

   g. Off-campus impact, where individual lives and the environment in which they live can

       be positively impacted through civic action and engagement consistent with the

       university mission;


Outlets and Evaluation: The College of Communication is home to a wide range of scholars,

disciplines, and areas of research in which the publication or presentation of scholarship,

research and/or creative activities may take many different forms. Instances of scholarly

production are described in the following domains. The college’s ranking of scholarly outlets,

while always subject to qualitative assessment and case specificity, is reflected in the ordering




CONFIDENTIAL                                                     Calvente-DePaul 000802
  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 6 of 30 PageID #:938
                                                                                                6


of domains, beginning with the most highly valued, based on relative importance and

relevance, and concluding with less-weighted forms of scholarly production.

   a. Books are evaluated by an academic or popular press, the peer review process, positive
        external book reviews after publication, book awards, and the contribution of the book
        to its respective intellectual community and professional field. The quality of the press
        will be considered when assessing published research; however, the college does not
        privilege one type of press over another (e.g., university, commercial, or non-profit) as
        long as the faculty member can justify the choice of a press and how the press allows
        the faculty member to reach a specific objective relative to advancing knowledge. There
        should be a clear demonstrated alignment between the goals of the project and the
        press. Self-published manuscripts and vanity presses that lack a clear connection to
        academic work (i.e., paying to publish) will not be considered for promotion or tenure.
   b.   Peer-reviewed journal articles, including online journal articles, and monographs are
        evaluated by the reputation of the journal, the acceptance rate of the journal, and the
        theoretical contributions or useful applications of the research in its respective field.
   c.   Edited books are evaluated by the peer review process, reputation of the press, and
        contribution to their respective intellectual community and professional field.
   d.   Book chapters are evaluated by the quality of the press, the peer review process, the
        selection process, and the chapter’s contribution to its respective intellectual
        community and professional field.
   e.   Public performances of creative work are evaluated on the basis of their engagement
        with communities and publics outside the classroom, and are also measured on the
        basis of scholarly reviews, and grants and awards relating to the work. These creative
        works may appear in a variety of formats, as audio, film, or digital productions or
        presentations, as well as theatrical, multi-media, community-based, discipline-related
        websites and blogs, and visual art performances.
   f.   Invited chapters and articles in books, journals, guest-edited journals, conference
        proceedings, and professional research are evaluated by the quality of the press and the
        contribution of the research to its respective intellectual community and professional
        field.
   g.   Encyclopedia articles are evaluated by the quality of the press and the contribution of
        the research to its respective intellectual community and professional field.
   h.   Book reviews are evaluated by the quality of the publication, the reputation of the
        journals in which the reviews are published, by their demonstration of expertise in their




CONFIDENTIAL                                                    Calvente-DePaul 000803
  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 7 of 30 PageID #:939
                                                                                                 7


      respective field, and the academic value of the critical thinking demonstrated in the
      review.
   i. Awards and grants, including dissertation and conference paper awards and research
      grants, are evaluated by (1) the reputation of the institutions and organizations
      conferring those honors, if such works and honors have successfully led to the
      completion and publication of a research project, (2) the variability in award and grant
      amounts, and (3) whether those grants are in-house, or arose from national or
      international competition.
   j. Original work created for the purpose of public and community engagement/outreach,
      or public intellectual projects. While the College recognizes community engagement and
      public intellectual work is a form of service, if such work draws on the candidate’s
      disciplinary area(s) of expertise and results in an original product such as a report,
      publication, white paper, or presentation, it can also be considered a form of
      scholarship. Such scholarly products will be evaluated based on the degree to which the
      work demonstrates a high level of discipline-related proficiency, is creative or original, is
      done in a scholarly manner (poses questions and systematically investigates practices
      and/or outcomes), and may be peer or constituent reviewed.
   k. Conference papers are evaluated by the peer review process, their acceptance rate, the
      stature of the participating association or associations, and if there is a pattern that such
      scholarly works have translated into publications.
   l. Conference panels are evaluated on the basis of whether the candidate convenes or is
      an invited panelist, including a written statement from the convener on the candidate’s
      contribution, and the relationship of that contribution to the intellectual tradition of the
      university community.



Co-authorship/Collaboration: Co-authored/collaborative books, chapters, articles and creative

scholarship are highly valued and co-authorship/collaboration is a common practice in the

communication field. Co-authored scholarship will be assessed according to the same criteria as

single-authored work, with the additional consideration given to the specific contributions of

the candidate in content and leadership of the project. The position of the candidate in

authorship and the number of authors will be considered when assessing contributions to these

projects. Unless otherwise documented, the ranking of author contribution will be determined



CONFIDENTIAL                                                     Calvente-DePaul 000804
  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 8 of 30 PageID #:940
                                                                                                 8


based upon the printed listing of authors’ names within the publication assigning the highest

percentage of work to the first author and continuing in descending order. If the author

contribution is different from this norm, the College of Communication requires written

documentation, such as co-signed author contracts and/or notes of a publication, to explain

distinct workload and author order. If workload does not follow the norms of descending

author order and is not clearly expressed in the co-signed contract or in the notes of the

publication, the candidate must request a letter from the designated first-author to explain the

candidate’s contribution to the work (see attached template, appendix D). The co-authored

works are then weighed and evaluated on the basis of the written statement from the

candidate and co-author(s) articulating the specific contribution of the candidate to the project.




Publications in Non-English Language: Articles or books published in a language other than

English will be evaluated based on the general criteria specified for books and articles published

in English language in the college guideline for promotion and tenure. However, the candidate

must provide the College Personnel Committee an extended summary in English of the work for

the committee to assess the quality and significance of the publication. In addition, the

candidate is required to provide a statement from an external reviewer on the quality and

significance of the work as well as information on the selection process and the press or

journals.


Publication costs: The College understands that there are certain acceptable instances where a

researcher might incur costs associated with a publication. These may include a small

submission fee (often used to support a graduate assistant) or paying for graphs and

photographs, for example. However, the College does not consider paying by the page, for



CONFIDENTIAL                                                     Calvente-DePaul 000805
  Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 9 of 30 PageID #:941
                                                                                                   9


rushed review or publication, or for inclusion in a journal or book to be an acceptable form of

publication. The faculty member should disclose any costs associated with publications.


Forthcoming Works: The University Board for Promotion and Tenure (UBPT) and the College of

Communication personnel committee counts only scholarship that is complete and accepted

for publication. The work does not have to be in print or even in page proofs, but evidence of its

final acceptance, via a letter from the editor, is a must. As with work that is in print, the

personnel committee will assess this scholarship based on quality of the work, overall

reputation of the journal, and contributions to the field.


Work Prior to DePaul: The university evaluates untenured tenure-line faculty based on their

total output of work (Faculty Handbook, 3.4.2.2). While scholarship published, performed,

and/or produced prior to rank at DePaul is taken into account and valued in the review process,

the College prioritizes consistent productivity published, performed, and produced during the

probationary period at DePaul.


When a faculty member joins the College with credited years, scholarship published,

performed, and/or produced during those credited years is considered part of the faculty

member’s scholarship record at DePaul. Scholarship published, performed, and/or produced

prior to those credited years is taken into account and valued in the review process; however,

the College prioritizes consistent productivity published, performed, and produced during the

probationary period.


Dissertation: The College of Communication marks a significant distinction between the

completion of a dissertation and the eventual publishing of dissertation research. Finishing a

dissertation is not a publication of the work. Dissertation completion marks the first step in a



CONFIDENTIAL                                                        Calvente-DePaul 000806
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 10 of 30 PageID #:942
                                                                                                  10


larger and extended program of research. Thus, publications emerging from a faculty member's

dissertation research, whether in article, book, or some other form, are counted as original

publications. Furthermore, as a college, we acknowledge that within the many disciplines of

Communication, the publication of dissertation research is commonly a significant focus of

research energies in the years following dissertation completion. Such publication is looked

upon favorably, without prejudice. New areas of research are also welcomed, as faculty

members' intellectual interests and direction may change over time.


External Reviewers: As stipulated by the Faculty Handbook (3.6.2), by June 1, candidates must

submit to the local academic unit officers their CV and selected publications/documentation of

creative activities for transmittal to external reviewers. Local academic units should identify an

initial list of potential external reviewers by June 15. Local academic units will ask external

reviewers to prepare letters over the summer for receipt prior to candidate review in the fall.


The solicitation letter to a potential reviewer should be neutral, asking only for an objective

assessment of the candidate’s research or creative activities and requesting that the reviewer

eschew advocacy for or against tenure and promotion. The solicitation letter should also ask the

reviewer to explain the nature of the reviewer’s relationship to the candidate. The letter should

ask the evaluator to cover the following general ground:


   x   the nature of the evaluator’s professional interactions with the candidate
   x   the quality of the candidate’s work
   x   the impact of the candidate’s work


Readers will disregard any portions of an external letter advocating for or against tenure and

promotion.




CONFIDENTIAL                                                       Calvente-DePaul 000807
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 11 of 30 PageID #:943
                                                                                                   11




The authors of the external reviews will be selected from a combined list of candidates

submitted from the candidate and from the relevant program area(s) in the College. To do this,

the candidates will be asked to submit the names of three candidates as potential external

reviewers. This list will be vetted by the program chair and any other tenured faculty

representatives with knowledge of the candidate’s research area who will then, if needed,

provide additional names for consideration. As long as no conflicts are determined, at least one

name will be taken from the original candidate list. As noted in the Faculty Handbook (3.6.2.1),

when identifying external reviewers, candidates and committees should take into account both

the objectivity of the reviewer and the reviewer's rank, reputation, and stature. The College of

Communication has full discretion in selecting external reviewers.


In accordance with the Illinois state law and the Faculty Handbook (3.6.2.3), candidates can

only receive external letters with information identifying the reviewers redacted.




                                        Criteria for Service


The faculty member’s service contributions to the college and university are carefully

considered in tenure and promotion recommendations. Service positions are formal

organizational roles that contribute to the institution’s internal processes and its relationships

with external bodies. All faculty members are expected to participate in the governance and

intellectual life of the college and the university, and all service should be documented. Faculty

members should request letters from committee chairs, editors, community partners, and

other liaisons who can speak to the quality and quantity of service. Those letters must be

submitted with the faculty member’s service materials.



CONFIDENTIAL                                                      Calvente-DePaul 000808
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 12 of 30 PageID #:944
                                                                                                      12


The rapid growth of a college and extensive program development places large demands on

faculty resources. As program development is an essential foundational component of a strong

college, representing a clear and present need, service in this area is required of all faculty, is

highly demanding of faculty time and energies, and is greatly valued within the college.


Definition: As noted in the Faculty Handbook (3.4.2.3), service consists of activities that:

   a. benefit the university and its academic units, professional associations, the community,
       or the broader public;
   b. are consistent with the university’s mission.;
   c. clearly benefit from the expertise of the faculty member — either the specialized
       expertise of the faculty member’s field or the general skills possessed by all members of
       the faculty, and; are provided without full compensation.

The College of Communication, established in 2007, seeks an environment in which shared

responsibility, mutual respect, and recognition that general welfare takes precedence over

individual desire. Citizenship is central to the success of the College and the University. The

right of citizenship in the College comes with an expectation of a high level of cooperation and

participation within the college community. Members of the community are expected to attend

meetings and events that represent and support the College, including but not limited to,

faculty meetings, faculty and staff search activities, college and university sponsored events.

The amount of service is correlated with academic rank, with senior faculty expected to provide

a greater amount of service and leadership. Contributions to the University, the profession,

and the wider community are also weighed.




CONFIDENTIAL                                                        Calvente-DePaul 000809
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 13 of 30 PageID #:945
                                                                                                  13



Two-level Service Evaluation Criteria: This section outlines the two-level service evaluation


criteria. When possible, the language is reflective of that used in the current University Faculty


Handbook.


       1. Tenure and Promotion to Associate Professor: Faculty members who apply for
          tenure and promotion to associate professor should have their service focused
          primarily in their track/program and in the college. Examples of track/program and
          college service include, but are not limited to, member of a search, curriculum, or
          personnel committee; college-level task forces; public performances, public
          programs, or appearances to promote the image and visibility of the college;
          mentoring students. Such faculty members are encouraged to take leadership roles
          in track/program committees after the first year of their probationary period.
          Examples of professional service include, but are not limited to, serving as an elected
            officer of a national or regional professional association; serving on a committee or
            task force of a professional association; serving as a peer reviewer or editor for a
            professional journal. Examples of community service include, but are not limited to,
          giving presentations and performances for the public provided that the activities are
          not fully compensated; speaking to civic organizations on a matter pertinent to one’s
          expertise.
       2. Promotion to Full Professor: A substantial service record beyond the home
          academic unit is required for promotion to full professor. Examples of track/program
            college, and university service include, but are not limited to, serving as an associate
            dean; director of undergraduate or graduate studies; track/program director;
            committee chairs and extraordinary contributions to the work of committees,
            boards, working groups; active member of Faculty Council; serving as the appointed
            liaison or representative of the university to an external institution; mentoring
            students and junior faculty. Examples of professional service include, but are not
            limited to, serving as an elected officer of a national or regional professional
            association; editing a professional journal or newsletter; serving as a liaison between
            track/program, college, or university and a professional organization; serving as a
            peer reviewer for a professional journal; organizing professional conferences.
            Examples of community service include, but are not limited to, consulting with
            private, public and religious organizations, provided that such consulting is not fully




CONFIDENTIAL                                                       Calvente-DePaul 000810
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 14 of 30 PageID #:946
                                                                                                 14


           remunerated, giving public presentations and performances provided that the
           activities are not fully compensated; promoting civic engagement, e.g., providing
           individual expertise or classroom-guided experiential learning for community
           organizations; serving on the boards of non-profit organizations and community
           groups; speaking to civic organizations on a matter pertinent to the faculty
           member’s expertise; testifying as an expert witness before a committee of the
           United States, Illinois, City or similar governmental bodies.



                   Formal Review, Personnel Committee Reports, and Voting

In accordance with the University Faculty Handbook, all tenure-track faculty will undergo a

formal review at least every second year of the probationary period. The standard

probationary period is six years with the following timeline:
       First formal review: Fall of Second year
       Second formal review: Fall or Winter of fourth year
       Tenure and Promotion review: Fall of sixth year
Formal reviews can occur on an annual basis if required by the personnel committee or the

tenured faculty. The formal review schedule may also be adjusted due to faculty leaves of

absence or years credit toward tenure. The formal review is comprised of two main steps: 1)

personnel committee review, 2) tenured faculty vote and recommendation to the Dean.



Personnel Review

A personnel committee will conduct a formal evaluation of the candidate’s teaching, research,

and service materials using the criteria described above. The process will also include an in-

person interview with the faculty member to discuss the areas of evaluation.

The personnel committee is made up of five tenured faculty members with at least one

representing the four main program areas in the College. Each member is elected to a three-

year term. All tenured faculty are included in the personnel ballot. All tenure-track and



CONFIDENTIAL                                                     Calvente-DePaul 000811
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 15 of 30 PageID #:947
                                                                                                 15


tenured faculty are eligible to vote on personnel membership. Ad hoc members may be

selected if there is an unusually high number of formal reviews in a given year. Ad hoc

members are chosen based on the next highest votes in the election. For candidates applying

for promotion to full professor, the personnel committee will be an ad hoc committee

comprised of a minimum of three full professors.



For formal reviews, the personnel committee will prepare a report that assesses the faculty

member’s teaching, research, and service. The report will evaluate two items: 1. the

candidate’s performance within the designated formal review period 2. a cumulative

assessment of whether or not the candidate is making adequate progress toward tenure in

each of the areas of teaching, research and service. In tenure and/or promotion cases, the

personnel committee will include an evaluation of all appropriate years under consideration.

For tenure and promotion to associate professor, this will include all designated probationary

years. For promotion to full professor, the focus is on years subsequent to promotion to

associate professor. A candidate’s performance in the areas of teaching, research, and service

will be evaluated separately and given a ranking of excellent, very good, fair, or unsatisfactory.



Tenured Faculty Votes and Recommendation to the Dean

All personnel committee reports are presented to the tenured faculty members for discussion

and a vote. The reports might subsequently be revised in the tenured faculty meeting to fix

factual inaccuracies and typos (if necessary). The report will include an addendum that

summarizes the discussion among tenured faculty about the faculty member’s work and

progress toward tenure as well as any conversation among the tenured faculty members about

changes to the personnel committee report, a description of any major disagreement about the



CONFIDENTIAL                                                      Calvente-DePaul 000812
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 16 of 30 PageID #:948
                                                                                                   16


personnel committee’s conclusions, and/or the tone of the report if there is disagreement. The

tenured faculty will report will also make a recommendation to the dean for or against

promotion and/or tenure or for or against contract renewal, and will also list an anonymous

tally of tenured faculty members’ votes.


For formal reviews, tenured faculty members will vote separately on contract renewal and

progress toward tenure in the areas of teaching, research, and service. For example, a tenured

faculty member may vote in favor of contract renewal, but then, may vote that a candidate is

not making adequate progress toward tenure in one or more areas of teaching, research, or

service. If a majority of faculty vote in this way, an additional formal review may be required

for the area in question. For promotion to associate professor and/or tenure cases, tenured

faculty will vote either in favor or against. For promotion to full professor cases, full professors

will vote either in favor or against.


The College of Communication recognizes that faculty members must have the opportunity to

develop strengths and skills as they progress toward tenure. Therefore, adequate progress

toward tenure during the first formal review is not necessarily the same as what adequate

progress toward tenure means in subsequent formal reviews leading up to and including the

tenure review. As a general guideline, in the first formal review, a faculty member can be

considered to be making adequate progress toward tenure as long as all categories are ranked

fair or above. By the time of the second formal review, the faculty member should have at least

one area ranked as excellent with the clear promise of moving at least one of the remaining

areas to excellent within the time prior to tenure. No ranking should be below very good during

this review. By the tenure review a faculty member’s performance should be excellent in at

least two of three areas, and very good in the third.




CONFIDENTIAL                                                       Calvente-DePaul 000813
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 17 of 30 PageID #:949
                                                                                                  17




In the event that a faculty member’s tenure clock is stopped during the probationary period or

a faculty member has received a questionable prior review, additional formal reviews may be

required. A faculty member’s performance in these additional reviews must demonstrate

improvement beyond the first formal review with the clear promise of meeting the

requirements listed for the second formal and tenure reviews listed above.



All tenured faculty members are eligible to vote for formal review and tenure and promotion

cases to associate professor. All full professors are eligible to vote for candidates seeking

promotion to full professor. All votes will be conducted using secret ballots. As noted in the

Faculty Handbook (3.5.2), all tenured faculty are permitted and expected to vote unless they are

on a university approved leave of absence. Under no circumstances may a vote be cast through

a proxy. However, faculty in absentia may vote only if they use technology that permits

simultaneous participation in the review meeting and conveyance of their secret ballot at the

time of the vote. Only those faculty having a valid excuse, (such as an approved university leave

of absence, conference travel, or illness), may attend and vote using technology.


In tenure and/or promotion cases, if there is a negative vote or split vote, the College report

should provide an explanation and justification to the University Board on Promotion and

tenure. The College report to the University Board for Promotion and Tenure must include

summaries of the separate votes and comments documenting the tenure and promotion

meeting.


Signing Statement




CONFIDENTIAL                                                      Calvente-DePaul 000814
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 18 of 30 PageID #:950
                                                                                                    18


Each tenured faculty member will sign a separate sheet stating that the personnel committee

report regarding contract renewal, tenure, and/or promotion accurately represents the

discussion among tenured faculty members. Or the faculty member can sign a sheet that the

report does not accurately reflect the discussion among tenured faculty members. The faculty

member's signature does not indicate the direction of the signatory’s vote. Faculty who sign the

form indicating lack of agreement must provide a signed written statement of their reasons. In

the event a faculty member refuses or is unable to sign one or the other of the two forms

above, the report will go forward with an explanation from the person responsible for gathering

signatures.



As noted in the Faculty Handbook (3.5.2.1), a faculty member who believes that an evaluation

level report did not accurately reflect the discussion during deliberation for promotion or tenure

must prepare a signing statement. The signing statement explains the individual’s disagreement

with the report’s characterization of the meeting. It is restricted to how the evaluating unit or

committee report allegedly mischaracterized the discussion. The statement may not present

information or opinions about the candidate beyond those offered during the meeting. It need

not indicate the author’s position on the candidacy.



Signing statements must be shared with both the candidate and all faculty members of the unit

or committee who were involved in the discussion at issue. Signing statements are due five

business days after the recommendation goes to the next level.

Minority Report

As noted in the Faculty Handbook (3.5.2.2), an allegation that an evaluating unit violated its




CONFIDENTIAL                                                      Calvente-DePaul 000815
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 19 of 30 PageID #:951
                                                                                                   19


guidelines, criteria, or processes, or those of the university, takes the form of a minority report.

A minority report is restricted to how the evaluating unit or committee violated guidelines,

process, or criteria. It may not present information or opinion about the candidate beyond that

offered during the meeting.



Minority reports must be shared with both the candidate and all faculty members of the unit or

committee. The deadline for the minority report is five business days after the recommendation

goes to the next level. The evaluating unit or committee has five business days to respond to the

minority report. These documents must be added to the dossier for subsequent levels of review.


Rebuttal: The candidate can respond in writing to reports. If the candidate disagrees with the

personnel committee’s review, a rebuttal can be sent to the tenured faculty through the Dean.

The rebuttal will be considered by the faculty during the personnel committee decisions.

Similarly, a rebuttal can be submitted to the UBPT if the faculty member disagrees with the final

report submitted to the dean and UBPT. Only the candidate can do so. Statements from other

faculty and external reviewers will not be considered.


The dean shall decide the issue of reappointment or termination and report his or her decision

to the academic unit. If the dean and the academic unit are in disagreement, the academic unit

may appeal the dean’s decision to the Provost. In such cases, the academic unit and dean shall

report to the Provost the reasons for their respective positions. The Provost shall make the

decision and shall report it to the faculty member.



                                 Tenure and Levels of Promotion




CONFIDENTIAL                                                       Calvente-DePaul 000816
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 20 of 30 PageID #:952
                                                                                                 20


Tenure and Promotion to Associate Professor: A faculty member who enters his or her sixth

year at DePaul with a full-time appointment in the rank of assistant professor is eligible to apply

for tenure and promotion to associate professor (see Appendix C for University tenure and

promotion timeline). Faculty members who have served in other institutions before coming to

DePaul and the college dean must reach an agreement on the length of the probationary period

at the initial contract. Tenure recommendations are based on the candidate’s performance in

the areas of teaching, research, and service and on the candidate’s qualifications in meeting the

requirements and expectations of these three areas specified by the College of Communication

and the University. The candidate must demonstrate qualifications and continued capacity to

contribute to DePaul’s mission and academic excellence. Specifically, the candidate must

demonstrate a record of teaching effectiveness, must show evidence of notable (i.e., excellent

or very good) scholarship, and must display the spirit of ownership and consistent involvement

and contribution within the College of Communication, serving the University (faculty council

committees and university committees), professional service to the field, and community

service. Specific long-term program needs may also play a significant role in tenure

recommendations. Faculty performance will be assessed as excellent, very good, fair, or

unsatisfactory. The College expects excellence in at least two areas, with the third being rated

at least very good.


Early Promotion to Associate Professor: A faculty member may apply for early promotion to

associate professor without tenure (see Appendix C for university tenure and promotion

timeline). If a faculty member wishes to do so, the standards for evaluation are qualitatively

higher than an evaluation for tenure and promotion on the standard tenure and promotion

clock. The candidate must demonstrate extraordinary accomplishments and outstanding




CONFIDENTIAL                                                      Calvente-DePaul 000817
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 21 of 30 PageID #:953
                                                                                                 21


performance in all the three areas within the probationary period and not just that he or she

has met the standards for tenure early. For example, extraordinary teaching can be

demonstrated through teaching excellence awards or nominations, the use of innovative

teaching practices and pedagogy, the development of new courses that build the candidate’s

program area in important ways, consistently excellent student evaluations (both qualitative

and numerical), and outstanding peer observations. Extraordinary scholarship may include (but

not be limited to) extensive, high quality publications in a range of outlets including books,

peer-reviewed articles, and book chapters demonstrating that the candidate has developed

visibility within his or her field. A record of extraordinary service can be determined when a

candidate provides extensive service contributions both within and outside the College and is

seen as a leader in service initiatives (such as building new degree programs, chairing numerous

search committees, taking on administrative roles, and/or expanding student opportunities

beyond the classroom). Service outside the university community is also highly valued and will

add weight to the overall evaluation. However, extensive outside community and professional

service alone, is not enough to constitute the ranking of extraordinary service for the purposes

of early promotion.


Outside reviewers with expertise in the candidate’s areas of research are asked to evaluate the

scholarship of the candidate. A minimum of two letters from the external experts selected both

by the candidate and the college is required. Reviewers should provide a statement and a C.V.

The reviewers should not be someone the candidate has done co-authored work with, or

someone so closely affiliated with a candidate, or someone overly influenced by personal

relations with the candidate to compromise objective judgment.




CONFIDENTIAL                                                      Calvente-DePaul 000818
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 22 of 30 PageID #:954
                                                                                                22


Promotion to Full Professor: The candidate’s performance in the areas of teaching, research,

and service is examined in considering a recommendation for promotion to full professor (see

Appendix C for university tenure and promotion timeline). The quality and quantity of work

completed since tenure and promotion to associate professor will be evaluated along with an

examination of the overall contribution of a candidate in his/her field/discipline. Very good-to-

excellent teaching is mandatory for the candidate. In addition, the candidate must demonstrate

continued scholarship, research and/or creative activities; must have performed important

leadership roles at the college and the university levels; and must show notable service beyond

the unit/program and college levels. The college will recommend promotion to full professor

for faculty members who have shown significant scholarly accomplishments, impressive

contributions to knowledge and/or applications to knowledge, and notable service to the

university, intellectual, professional, and communal communities. The candidate must earn

visibility within his/her academic field and must be recognized by peers and experts outside the

university in scholarship, research and/or creative activities. A positive recommendation for

promotion to full professor requires outstanding performance in scholarship/creative activities

and outstanding performance in service.

Outside reviewers with expertise in the candidate’s areas of research are asked to evaluate the

scholarship of the candidate. A minimum of three letters from the external experts selected

both by the candidate and the college is required. Reviewers should provide a statement and a

C.V. The reviewers should not be someone the candidate has done co-authored work with, or

someone so closely affiliated with a candidate, or someone overly influenced by personal

relations with the candidate to compromise objective judgment.

Submission of materials:




CONFIDENTIAL                                                     Calvente-DePaul 000819
Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 23 of 30 PageID #:955
                                                                                               23


  x   The candidate’s 5-6 page (around 3000 words) personal statement describing his or her
      achievements in teaching, scholarship, and service
  x   The candidate’s current and complete curriculum vita (Take care to submit accurate
      information about journal names, co-authors, cited pages, committee appointments
      and service obligations). The candidate should use the AAUP’s format for the c.v. to
      maintain college uniformity.
  x   A complete list in reverse chronological order of courses taught at DePaul during the
      probationary period.
  x   Syllabi for all courses
  x   Student course evaluations (including graphs and typed comments, both statistical
      analysis and narrative account, verified by the college) for each course
  x   Peer evaluation reports of teaching and the student representative’s report
  x   Other evidence of teaching effectiveness (e. g. course material, a teaching portfolio,
      Excellent Teaching Awards)
  x   Copies of all of the candidate’s publications/scholarly works/creative activities
  x   External evaluation of scholarship
  x   Other evidence of scholarly accomplishment (e. g. awards, grants)
  x   Letters from individuals who evaluate the candidate’s service beyond the college level




CONFIDENTIAL                                                   Calvente-DePaul 000820
    Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 24 of 30 PageID #:956
                                                                                                                   24


                                                     Appendix A
                                             PEER OBSERVATION RUBRIC
Using the following rubric as a guide, please write a 1-2 page narrative reviewing the teaching in the class you
observed.


Narrative Prompts:
Teacher organization. Comment on the extent to which the teacher made the class plan explicit, followed the
plan, had the materials needed for the class, showed evidence of having prepared the content, etc.


Presentation skills. Comment on the instructor’s command of the class, as demonstrated through presentation
skills (e.g. clarity, use of instruction materials, relevant examples, when appropriate).


Instructor’s style. Comment on the instructor’s ability to stimulate student thinking, engage students in problem-
solving activities, demonstrates professionalism, or otherwise engage students.


Classroom climate. Comment on classroom climate. This might include instructor’s success in reinforcing and
encouraging student contributions, when appropriate; creation of an atmosphere conducive to learning;
demonstration of mutual respect; and encourage students to think critically about their own and others’ opinions.


Classroom Management:
x    Content knowledge. Comment on the importance, significance, relevance, currency/recency, and substance
     of the content presented by the instructor. Comment on the suitability of teaching methods and the pacing of
     the class.
x    Time Management. Comment on the use of time in the classroom.
x    Organization. Comment on how the instructor facilitates discussions, eliminates distractions, and diminishes
     digressions in the classroom.


General prompts:
x    What have you learned about teaching from the observation?
x    What things went well for this instructor and/or the class?
x    What things did not go so well for this particular class?
x    Is it your view that the class you observed was productive in terms of achieving the goals of the class?
x    What specific suggestions for improvement do you have?
x    What things did you learn in the pre- or post-observation conference that influenced your observation and
     feedback?




CONFIDENTIAL                                                                    Calvente-DePaul 000821
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 25 of 30 PageID #:957
                                                                                               25


                                           Appendix B

                         Student Assessment of Faculty Performance

                                             PART I

Methods.

To complete this evaluation, eligible students were asked a series of questions through an
online survey between (date) and (date). An eligible student is defined as any person who has
taken a course with the faculty member under review since that faculty member began
teaching at DePaul University, as but excludes students currently enrolled in a course with that
instructor.
Qualtrics, the survey software, sent out the following message to eligible students:

“Dear [student],


Greetings from the College of Communication at DePaul University. At this time, Professor XXXX
is undergoing review for XXXX. Part of this extensive review entails surveying students who
have taken a course with Professor XXXX.


As one of XXX previous students, your feedback will be critical to ensuring Professor XXXX's
review is comprehensive and accurate.


If you have a moment, please complete the attached brief survey to help us in this review
process.


Follow this link to the Survey:
${l://SurveyLink?d=Take the Survey}

Or copy and paste the URL below into your internet browser:
${l://SurveyURL}

Thank you,
Office of the Dean
College of Communication
DePaul University




CONFIDENTIAL                                                    Calvente-DePaul 000822
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 26 of 30 PageID #:958
                                                                                           26


Follow the link to opt out of future emails:
${l://OptOutLink?d=Click here to unsubscribe}”
Measures


Student responses to the following questions were collected by the survey.


Likert Scale Questions:


Note: Numbers in parentheses next to the Likert-type questions were not included in the

student survey. The preparer used these numbers to identify average responses for each

question.

1. This faculty member demonstrated command of course content.


Strongly Disagree (1)     Disagree (2)   Uncertain (3)   Agree (4)    Strongly Agree (5)


2. This faculty member effectively communicated course content through appropriate teaching
methods (e.g., lecture, in-class discussion, assignments).


Strongly Disagree (1)     Disagree (2)   Uncertain (3)   Agree (4)    Strongly Agree (5)

3. This faculty member encouraged me to make connections between course content and my
personal, intellectual, and/or professional life.

Strongly Disagree (1)     Disagree (2)   Uncertain (3)   Agree (4)    Strongly Agree (5)


4. This faculty member created an environment of respectful interaction.


Strongly Disagree (1)     Disagree (2)   Uncertain (3)   Agree (4)    Strongly Agree (5)


5. My overall assessment of this faculty member is positive.


Strongly Disagree (1)     Disagree (2)   Uncertain (3)   Agree (4)    Strongly Agree (5)




CONFIDENTIAL                                                         Calvente-DePaul 000823
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 27 of 30 PageID #:959
                                                                                          27


Open Ended Questions:


What are this professor’s strengths?


What suggestions do you have for improvement?


Please describe a memorable moment from your interactions with this professor.


                                            Part II


Results & Overall Impressions
       a. Conclusions drawn from averaged responses to the Likert-scale questions of online
          surveys.
       b. Themes emerged through responses to the open-ended questions.
               i. Strengths
              ii. Suggestions
              iii. Memorable Moments
Comparison of Student Surveys with Teaching Evaluations
       a. Highlights similarities between survey results and teaching evaluations.
       b. Highlights differences between survey results and teaching evaluations.
       c. Concluding comments from analysis of the collective data.




CONFIDENTIAL                                                   Calvente-DePaul 000824
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 28 of 30 PageID #:960
                                                                                                     28


                                          Appendix C
                           University Promotion and Tenure Schedule


The following is the suggested schedule for the university promotion and tenure process.
Whenever possible, the university will abide by the proposed timetable. Any changes to this
calendar must provide at least the allotted time period for candidate responses, minority
reports, and signing statements.


April 1
Letter of notification as to the eligibility to apply for promotion and tenure sent to the faculty
member from the provost


May 1
Letter requesting consideration for promotion and/or tenure
submitted by the faculty member to the provost, the academic dean, and the program chair.


May 15
Provost acknowledges receipt of applications for promotion, for tenure, or for promotion and
tenure.


June 1
Candidate provides CV and selected publications/documentation of
creative activities to the associate dean for faculty development for submission to external
reviewers


June 15
List of potential external reviewers identified.


First day of fall quarter
Candidate’s complete materials due.


January 15
Report from the academic unit submitted to the academic dean and to the candidate.


January 31




CONFIDENTIAL                                                       Calvente-DePaul 000825
 Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 29 of 30 PageID #:961
                                                                                          29


Report from the Dean of the College of Communication and the academic unit submitted to the
Office of Academic Affairs and to the candidate


Winter Quarter
University Board on Faculty Promotion and Tenure meets with faculty candidates.


Five business days from the last UBPT meeting but no later than May 15 UBPT reports due to
candidates


Two weeks from the date UBPT reports are sent to candidates.
Optional candidate response due to UBPT. UBPT report and all relevant materials for all
candidates submitted to provost


June 15
Decision of the university provost
Notification to candidate of the provost’s decision follows in a timely fashion




CONFIDENTIAL                                                     Calvente-DePaul 000826
Case: 1:20-cv-03366 Document #: 48-10 Filed: 11/19/21 Page 30 of 30 PageID #:962
                                                                                              30


                                         Appendix D
                                  Co-Author Letters of Support


     Dear [Name of Co-Author],


     We collaborated on the following research project [title of project(s)]. As a part of my
     formal review, I am required to document my distinct contributions and the
     percentage of work on co-authored projects. As first author on this project, I am
     asking you to review and approve the attached summary of this work and return to
     me. You are also welcome to suggest revisions and/or provide additional information.


     Sincerely,
     [Name]                                                                              EXHIBIT
                                                                                      Deposition Exhibit 94(2/19/21)

     Co-Author Template


     [Name of article]
     [Name of co-authors]
     [Author contribution—for example: development of theory, literature review, data
     collection, data analysis]
     [Author percentage of work—for example: 90%, 30%, work was equally divided]


     If this agree with this summary, please sign below and return this form to me. You are
     more than welcome to suggest revisions and/or provide additional information as
     well.


     Signature                                                 Date


     ________________________________________________________________________




CONFIDENTIAL                                                 Calvente-DePaul 000827
